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                     Document#:#:115-1
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                                                                      PageID#:1510
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Case:
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       1:17-cv-09339Document
                     Document#:#:115-1
                                  125 Filed:
                                       Filed:01/16/20
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                                                                      PageID#:1511
                                                                             #:1424
Case:
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       1:17-cv-09339Document
                     Document#:#:115-1
                                  125 Filed:
                                       Filed:01/16/20
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                                                                      PageID#:1512
                                                                             #:1424
Case:
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       1:17-cv-09339Document
                     Document#:#:115-1
                                  125 Filed:
                                       Filed:01/16/20
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                                                                      PageID#:1513
                                                                             #:1424
Case:
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       1:17-cv-09339Document
                     Document#:#:115-1
                                  125 Filed:
                                       Filed:01/16/20
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                                                                      PageID#:1514
                                                                             #:1424
Case:
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       1:17-cv-09339Document
                     Document#:#:115-1
                                  125 Filed:
                                       Filed:01/16/20
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                                                                      PageID#:1515
                                                                             #:1424
Case:
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       1:17-cv-09339Document
                     Document#:#:115-1
                                  125 Filed:
                                       Filed:01/16/20
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                                                                      PageID#:1516
                                                                             #:1424
Case:
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                     Document#:#:115-1
                                  125 Filed:
                                       Filed:01/16/20
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                                                                      PageID#:1517
                                                                             #:1424
Case:
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       1:17-cv-09339Document
                     Document#:#:115-1
                                  125 Filed:
                                       Filed:01/16/20
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Case:
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       1:17-cv-09339Document
                     Document#:#:115-1
                                  125 Filed:
                                       Filed:01/16/20
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                                                                      PageID#:1519
                                                                             #:1424
Case:
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       1:17-cv-09339Document
                     Document#:#:115-1
                                  125 Filed:
                                       Filed:01/16/20
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                                                                      PageID#:1520
                                                                             #:1424
Case:
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                     Document#:#:115-1
                                  125 Filed:
                                       Filed:01/16/20
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